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                        UNITED STATES DISTRICT COURT
                                       District of Minnesota



City of Mankato, Chisago Lakes Joint Sewage        JUDGMENT IN A CIVIL CASE
Treatment Commission, Sauk Centre Public
Utilities Commission, City of Fergus Falls,
City of Elk River, City of Princeton
                                 Plaintiff(s),
v.                                                       Case Number: 15-cv-2101-JRT/TNL
Kimberly-Clark Corporation

                                 Defendant(s).

☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:


      all of Plaintiffs’ claims against Defendant Kimberly-Clark Corporation in the above-
     captioned action are voluntarily dismissed with prejudice, with each party bearing its
     own costs and fees.




      Date: 1/15/2020                                      KATE M. FOGARTY, CLERK

                                                                  s/M. Giorgini
                                                       (By) M. Giorgini, Deputy Clerk
